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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                        Chapter 11

    MADISON SQUARE BOYS & GIRLS CLUB,                             Case No. 22-10910-SHL
    INC.,1
              Debtor.


    SUPPLEMENT TO SECOND AND FINAL APPLICATION OF DUNDON ADVISERS
    LLC FOR ALLOWANCE OF COMPENSATION FOR PROFESSIONAL SERVICES
    RENDERED AS CO-FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF
              UNSECURED CREDITORS FOR THE PERIOD FROM
                 AUGUST 8, 2022 THROUGH AUGUST 21, 2023

                                          [Relates To Docket No. 639]

             Dundon Advisers LLC (the “Firm”), co-financial advisor to the Official Committee of

Unsecured Creditors (the “Committee”) of the debtor and debtor in possession in the above-

captioned case (the “Debtor”), hereby submits as Exhibit E a supplement (the “Supplement”) to

its second and final fee application [Docket No. 639] (the “Application”), in connection with an

agreement made between the Firm and the Office of the United States Trustee. By way of this

Supplement, the Firm substantiates the $6,000 gross ($5,100 net of required 15% discount) sought

in the Application for work performed during the period from August 27, 2023 through October

3, 2023 (the “Post-Effective Date Period”).

             WHEREFORE, the Firm respectfully reiterates the request made in the Application that

this Court enter an order: (a) allowing the Firm compensation for services rendered during the

Final Application Period2 in the amount of $160,023.55 on account of reasonable and necessary

professional services rendered to and for the benefit of the Committee; (b) authorizing additional



The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is 250
1

Bradhurst Avenue, New York, New York 10039.
2
    Capitalized terms not otherwise defined herein shall have the same meaning ascribed to them in the Application.



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compensation to the Firm in the amount of $5,100.00 for fees incurred during the Post-Effective

Date Period; and (c) granting any other relief that this Court deems necessary and appropriate.


 Dated: October 21, 2023                DUNDON ADVISERS LLC



                                        Matthew Dundon
                                        Ten Bank Street, Suite 1100
                                        White Plains, NY 10606
                                        Telephone: 914.341.1188
                                        Fax: 212.202.4437
                                        Email: md@dundon.com

                                        Co-Financial Advisor to the Official Committee of
                                        Unsecured Creditors




                                                2
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                                    Exhibit E
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Dundon Advisers LLC - Time Entry                                                               Pg 4 of 5
Date Start: 8/21/2023 | Date End: 10/19/2023 | Clients: Madison Square Boys and Girls Club | Matters: | Users: All | Client Type: All | Matter Type: All | Location: All | Billing Method: All | Paid Status: All | Group
By: Matter



                                                                                                                                                                     Bill-
                                                 Matter                                                                                   Billable      Total        able
Date                    Client                   Type                    User                     Activity       Description              Time          Time         Flag     Hourly Rate             Billable Amt

UCC
08/27/2023              Madison Square Boys      Not Specified           Tabish Rizvi             Retention      Discussion of final      0.10          0.10          Y       $790.00/hr              $79.00
                        and Girls Club                                                            and Fee        fee application with
                                                                                                  Applications   M. Dundon
08/29/2023              Madison Square Boys      Not Specified           Matthew Dundon           Retention      Preparation of           0.10          0.10          Y       $890.00/hr              $89.00
                        and Girls Club                                                            and Fee        collection history for
                                                                                                  Applications   T. Rizvi
09/05/2023              Madison Square Boys      Not Specified           Tabish Rizvi             Retention      Admin: Participate       0.30          0.30          Y       $790.00/hr              $237.00
                        and Girls Club                                                            and Fee        on call with
                                                                                                  Applications   Landgraber regarding
                                                                                                                 issue with final fee
                                                                                                                 application in
                                                                                                                 Madison Square
09/14/2023              Madison Square Boys      Not Specified           Matthew Dundon           Retention      Discussion of            0.30          0.30          Y       $890.00/hr              $267.00
                        and Girls Club                                                            and Fee        required discounts
                                                                                                  Applications   with T. Rizvi and S.
                                                                                                                 Landgraber
09/16/2023              Madison Square Boys      Not Specified           Tabish Rizvi             Retention      Prepare 2nd interim      4.00          4.00          Y       $790.00/hr              $3,160.00
                        and Girls Club                                                            and Fee        and final fee
                                                                                                  Applications   application in
                                                                                                                 accordance with
                                                                                                                 PSZJ’s template
09/17/2023              Madison Square Boys      Not Specified           Matthew Dundon           Retention      Further revision of      0.70          0.70          Y       $890.00/hr              $623.00
                        and Girls Club                                                            and Fee        proposed final fee
                                                                                                  Applications   application per
                                                                                                                 comments from UCC
                                                                                                                 counsel
09/17/2023              Madison Square Boys      Not Specified           Matthew Dundon           Retention      Discussion of further    0.20          0.20          Y       $890.00/hr              $178.00
                        and Girls Club                                                            and Fee        revision of proposed
                                                                                                  Applications   final fee application
                                                                                                                 with UCC counsel
09/17/2023              Madison Square Boys      Not Specified           Matthew Dundon           Retention      Revision of proposed     1.10          1.10          Y       $890.00/hr              $979.00
                        and Girls Club                                                            and Fee        final fee application
                                                                                                  Applications
09/18/2023              Madison Square Boys      Not Specified           Tabish Rizvi             Retention      Correspond with          0.20          0.20          Y       $790.00/hr              $158.00
                        and Girls Club                                                            and Fee        counsel on draft of
                                                                                                  Applications   fee application for
                                                                                                                 Madison
09/27/2023              Madison Square Boys      Not Specified           Tabish Rizvi             Retention      Review                   0.70          0.70          Y       $790.00/hr              $553.00
                        and Girls Club                                                            and Fee        correspondence
                                                                                                  Applications   exchanged between
                                                                                                                 J. Lucas and M.
                                                                                                                 Dundon regarding
                                                                                                                 treatment of 15%
                           22-10910-shl            Doc 652    Filed 10/23/23 Entered
                                                                                  discount,10/23/23
                                                                                            including    14:38:26         Main Document
                                                                           Pg 5 ofparticipating
                                                                                    5           on calls
                                                                                        with M. Dundon on
                                                                                        subject.
10/02/2023   Madison Square Boys   Not Specified       Matthew Dundon    Retention      Continued Discussion      0.30   0.30   Y   $890.00/hr   $267.00
             and Girls Club                                              and Fee        of further revision of
                                                                         Applications   proposed final fee
                                                                                        application with UCC
                                                                                        counsel
10/03/2023   Madison Square Boys   Not Specified       Matthew Dundon    Retention      Final revision of final   1.50   1.50   Y   $890.00/hr   $1,335.00
             and Girls Club                                              and Fee        free application per
                                                                         Applications   further comments
                                                                                        from counsel.

                                                                                             Totals For UCC       9.50   9.50                    $7,925.00


                                                                                                 Grand Total      9.50   9.50                    $7,925.00
